               Case 2:10-cr-00292-LKK Document 62 Filed 09/27/11 Page 1 of 2


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 2   MATTHEW C. BOCKMON, Bar # 161566
     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     ROBERT ROBBIE SCOTT, JR.
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 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              No. CR-S-10-292 LKK
                                           )
12                     Plaintiff,          )
                                           )              ORDER AFTER HEARING
13         v.                              )
                                           )
14                                         )              Judge: Hon. Lawrence K. Karlton
     ROBERT ROBBIE SCOTT, JR.,             )
15                                         )
                                           )
16                     Defendants.         )
     _____________________________________ )
17
18          This matter came on for Status Conference on September 20, 2011, in the courtroom of the Honorable
19   Lawrence K. Karlton, Senior Judge. Assistant United States Attorney Kyle Reardon appeared on behalf of
20   the United States of America. Assistant Federal Defender Matthew C. Bockmon appeared on behalf of
21   Defendant ROBERT ROBBIE SCOTT, JR., who was present out of custody.
22          A Further Status Conference hearing date of Tuesday, December 20, 2011, at 9:15 a.m., was set.
23          Accordingly, the parties stipulated and agreed that the time for trial under the Speedy Trial Act should
24   be excluded from September 20, 2011, up to and including December 20, 2011, pursuant to 18 U.S.C. §3161
25   (h)(7)(B)(iv) [reasonable time to prepare] and Local Code T4, and that the ends of justice to be served in
26   continuing this matter to allow the defendants further time to prepare outweigh the best interest of the public
27   and the defendants to a speedy trial.
28   ///
               Case 2:10-cr-00292-LKK Document 62 Filed 09/27/11 Page 2 of 2


 1           Good cause appearing therefor,
 2           IT IS ORDERED that this matter is continued to Tuesday, December 20, 2011, at 9:15 a.m., for
 3   Further Status Conference.
 4           IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161 (h)(7)(B)(iv) and Local Code T4, the
 5   period from September 20, 2011, up to and including December 20, 2011, is excluded from the time
 6   computations required by the Speedy Trial Act due to ongoing preparation of counsel. The Court finds that
 7   the ends of justice served by this continuance outweigh the best interests of the public and the defendants in
 8   a speedy trial.
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10   Dated: September 26, 2011
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